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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       The Madden Family Limited                 Act; Unruh Civil Rights Act
14
       Partnership, a California Limited
15     Partnership;
16     N. Main Street, Inc., a California
17     Corporation;
       Arian & Darian Company, a
18
       California Corporation
19
              Defendants.
20
21
           Plaintiff Scott Johnson complains of The Madden Family Limited
22
     Partnership, a California Limited Partnership; N. Main Street, Inc., a
23
     California Corporation; Arian & Darian Company, a California Corporation;
24
     and alleges as follows:
25
26
27     PARTIES:
28     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a


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1    level C-5 quadriplegic. He cannot walk and also has significant manual
2    dexterity impairments. He uses a wheelchair for mobility and has a specially
3    equipped van.
4      2. Defendants The Madden Family Limited Partnership and N. Main
5    Street, Inc. owned the real property located at or about 1358 N Main St,
6    Walnut Creek, California, in April 2021.
7      3. Defendants The Madden Family Limited Partnership and N. Main
8    Street, Inc. own the real property located at or about 1358 N Main St, Walnut
9    Creek, California, currently.
10     4. Defendant Arian & Darian Company owned Main Street Kitchen
11   located at or about 1358 N Main St, Walnut Creek, California, in April 2021.
12     5. Defendant Arian & Darian Company owns Main Street Kitchen
13   (“Restaurant”) located at or about 1358 N Main St, Walnut Creek, California,
14   currently.
15     6. Plaintiff does not know the true names of Defendants, their business
16   capacities, their ownership connection to the property and business, or their
17   relative responsibilities in causing the access violations herein complained of,
18   and alleges a joint venture and common enterprise by all such Defendants.
19   Plaintiff is informed and believes that each of the Defendants herein is
20   responsible in some capacity for the events herein alleged, or is a necessary
21   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants
23   are ascertained.
24
25     JURISDICTION & VENUE:
26     7. The Court has subject matter jurisdiction over the action pursuant to 28
27   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
28   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.


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1      8. Pursuant to supplemental jurisdiction, an attendant and related cause
2    of action, arising from the same nucleus of operative facts and arising out of
3    the same transactions, is also brought under California’s Unruh Civil Rights
4    Act, which act expressly incorporates the Americans with Disabilities Act.
5      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
6    founded on the fact that the real property which is the subject of this action is
7    located in this district and that Plaintiff's cause of action arose in this district.
8
9      FACTUAL ALLEGATIONS:
10     10. Plaintiff went to the Restaurant in April 2021 with the intention to avail
11   himself of its goods or services motivated in part to determine if the
12   defendants comply with the disability access laws. Not only did Plaintiff
13   personally encounter the unlawful barriers in April 2021, but he wanted to
14   return and patronize the business several times but was specifically deterred
15   due to his actual personal knowledge of the barriers gleaned from his
16   encounter with them.
17     11. The Restaurant is a facility open to the public, a place of public
18   accommodation, and a business establishment.
19     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
20   to provide wheelchair accessible dining surfaces in conformance with the ADA
21   Standards as it relates to wheelchair users like the plaintiff.
22     13. The Restaurant provides dining surfaces to its customers but fails to
23   provide any wheelchair accessible dining surfaces.
24     14. One problem that plaintiff encountered was the lack of sufficient knee
25   or toe clearance under the inside and outside dining surfaces for wheelchair
26   users.
27     15. Plaintiff believes that there are other features of the dining surfaces that
28   likely fail to comply with the ADA Standards and seeks to have fully compliant


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1    dining surfaces for wheelchair users.
2      16. On information and belief, the defendants currently fail to provide
3    wheelchair accessible dining surfaces.
4      17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
5    provide wheelchair accessible door hardware in conformance with the ADA
6    Standards as it relates to wheelchair users like the plaintiff.
7      18. The Restaurant provides door hardware to its customers but fails to
8    provide any wheelchair accessible door hardware.
9      19. A problem that plaintiff encountered was that the entrance door
10   hardware had pull bar style handle that required tight grasping to operate.
11     20. Plaintiff believes that there are other features of the door hardware that
12   likely fail to comply with the ADA Standards and seeks to have fully compliant
13   door hardware for wheelchair users.
14     21. On information and belief, the defendants currently fail to provide
15   wheelchair accessible door hardware.
16     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
17   personally encountered these barriers.
18     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
19   wheelchair accessible facilities. By failing to provide accessible facilities, the
20   defendants denied the plaintiff full and equal access.
21     24. The failure to provide accessible facilities created difficulty and
22   discomfort for the Plaintiff.
23     25. The defendants have failed to maintain in working and useable
24   conditions those features required to provide ready access to persons with
25   disabilities.
26     26. The barriers identified above are easily removed without much
27   difficulty or expense. They are the types of barriers identified by the
28   Department of Justice as presumably readily achievable to remove and, in fact,


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1    these barriers are readily achievable to remove. Moreover, there are numerous
2    alternative accommodations that could be made to provide a greater level of
3    access if complete removal were not achievable.
4      27. Plaintiff will return to the Restaurant to avail himself of its goods or
5    services and to determine compliance with the disability access laws once it is
6    represented to him that the Restaurant and its facilities are accessible. Plaintiff
7    is currently deterred from doing so because of his knowledge of the existing
8    barriers and his uncertainty about the existence of yet other barriers on the
9    site. If the barriers are not removed, the plaintiff will face unlawful and
10   discriminatory barriers again.
11     28. Given the obvious and blatant nature of the barriers and violations
12   alleged herein, the plaintiff alleges, on information and belief, that there are
13   other violations and barriers on the site that relate to his disability. Plaintiff will
14   amend the complaint, to provide proper notice regarding the scope of this
15   lawsuit, once he conducts a site inspection. However, please be on notice that
16   the plaintiff seeks to have all barriers related to his disability remedied. See
17   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
18   encounters one barrier at a site, he can sue to have all barriers that relate to his
19   disability removed regardless of whether he personally encountered them).
20
21   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
22   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
23   Defendants.) (42 U.S.C. section 12101, et seq.)
24     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
25   again herein, the allegations contained in all prior paragraphs of this
26   complaint.
27     30. Under the ADA, it is an act of discrimination to fail to ensure that the
28   privileges, advantages, accommodations, facilities, goods and services of any


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1    place of public accommodation is offered on a full and equal basis by anyone
2    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
3    § 12182(a). Discrimination is defined, inter alia, as follows:
4             a. A failure to make reasonable modifications in policies, practices,
5                or procedures, when such modifications are necessary to afford
6                goods,     services,    facilities,   privileges,    advantages,   or
7                accommodations to individuals with disabilities, unless the
8                accommodation would work a fundamental alteration of those
9                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
10            b. A failure to remove architectural barriers where such removal is
11               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
12               defined by reference to the ADA Standards.
13            c. A failure to make alterations in such a manner that, to the
14               maximum extent feasible, the altered portions of the facility are
15               readily accessible to and usable by individuals with disabilities,
16               including individuals who use wheelchairs or to ensure that, to the
17               maximum extent feasible, the path of travel to the altered area and
18               the bathrooms, telephones, and drinking fountains serving the
19               altered area, are readily accessible to and usable by individuals
20               with disabilities. 42 U.S.C. § 12183(a)(2).
21     31. When a business provides facilities such as dining surfaces, it must
22   provide accessible dining surfaces.
23     32. Here, accessible dining surfaces have not been provided in
24   conformance with the ADA Standards.
25     33. When a business provides facilities such as door hardware, it must
26   provide accessible door hardware.
27     34. Here, accessible door hardware has not been provided in conformance
28   with the ADA Standards.


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1      35. The Safe Harbor provisions of the 2010 Standards are not applicable
2    here because the conditions challenged in this lawsuit do not comply with the
3    1991 Standards.
4      36. A public accommodation must maintain in operable working condition
5    those features of its facilities and equipment that are required to be readily
6    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
7      37. Here, the failure to ensure that the accessible facilities were available
8    and ready to be used by the plaintiff is a violation of the law.
9
10   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
11   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
12   Code § 51-53.)
13     38. Plaintiff repleads and incorporates by reference, as if fully set forth
14   again herein, the allegations contained in all prior paragraphs of this
15   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
16   that persons with disabilities are entitled to full and equal accommodations,
17   advantages, facilities, privileges, or services in all business establishment of
18   every kind whatsoever within the jurisdiction of the State of California. Cal.
19   Civ. Code §51(b).
20     39. The Unruh Act provides that a violation of the ADA is a violation of the
21   Unruh Act. Cal. Civ. Code, § 51(f).
22     40. Defendants’ acts and omissions, as herein alleged, have violated the
23   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
24   rights to full and equal use of the accommodations, advantages, facilities,
25   privileges, or services offered.
26     41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
27   discomfort or embarrassment for the plaintiff, the defendants are also each
28   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-


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1    (c).)
2       42. Although the plaintiff encountered frustration and difficulty by facing
3    discriminatory barriers, even manifesting itself with minor and fleeting
4    physical symptoms, the plaintiff does not value this very modest physical
5    personal injury greater than the amount of the statutory damages.
6
7              PRAYER:
8              Wherefore, Plaintiff prays that this Court award damages and provide
9    relief as follows:
10           1. For injunctive relief, compelling Defendants to comply with the
11   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
12   plaintiff is not invoking section 55 of the California Civil Code and is not
13   seeking injunctive relief under the Disabled Persons Act at all.
14           2. For equitable nominal damages for violation of the ADA. See
15   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
16   and any other equitable relief the Court sees fit to grant.
17           3. Damages under the Unruh Civil Rights Act, which provides for actual
18   damages and a statutory minimum of $4,000 for each offense.
19           4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
20   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
21
22   Dated: May 18, 2021                  CENTER FOR DISABILITY ACCESS
23
24
                                          By: _______________________
25
                                                Amanda Seabock, Esq.
26                                              Attorney for plaintiff
27
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